Case 1:19-cr-00721-LAK Document 20

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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United States of America,
vs.
Amado Alonzo,
Defendant.
an x

TO THE UNITED STATES MARSHAL
SOUTHERN DISTRICT OF NEW YORK:

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The Court having today sentenced this defendant to timefserved,
IT IS HEREBY ORDERED that, provided there are no outstanding detainers against the

defendant Amado Alonzo, this defendant is discharged from the custody of the United States
Marshal immediately and in accordance with any special conditions as directed by the Court.

DATED: 10/20/2020

 

Lewis X. Kaplan

United States District Judge

 
